      Case 19-27238-ABA                      Doc 64      Filed 02/10/22 Entered 02/10/22 20:39:28                                        Desc Main
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Printed on: 12/31/2021                                                                                                                       Page 1 of 2
ISABEL C. BALBOA [ICB-99001-00]

                                             IN THE UNITED STATES BANKRUPTCY COURT FOR
                                                      THE DISTRICT OF NEW JERSEY

                                         TRUSTEE'S REPORT OF RECEIPTS AND DISBURSEMENTS
                                                        For the period of 01/01/2021 to 12/31/2021
                                                              Case Number: 19-27238 (ABA)



                                                                                                                          Monthly Payment: $587.00
       Steven D. Owens, Sr.                                                                                                      Payments / Month: 1
       31 Lawrence Road                                                                                                Current Trustee Comp.: 8.40%
       Bridgeton, NJ 08302




                                     The following are receipts posted in this case within the above dates:

Date                     Amount       Date                  Amount      Date                     Amount       Date                       Amount
01/29/2021               $477.00      02/18/2021            $556.00     04/01/2021               $556.00      06/01/2021                 $556.00
06/21/2021               $556.00      07/26/2021            $556.00     08/16/2021               $556.00      09/27/2021                 $587.00
10/18/2021               $587.00      11/08/2021            $587.00




                                   The following are the creditors who are set up to be paid through this plan:
CL#     Creditor Name                                                   LVL        Claim Amt.         Amt. Paid.           Balance Due         Paid this
                                                                                                                                                 Period
0       STEVEN D. OWENS, SR.                                           5                $0.00                $0.00               $0.00             $0.00
0       VICTOR DRUZIAKO, ESQUIRE                                       13            $2,750.00        $2,750.00                  $0.00             $0.00
1       ALLY FINANCIAL                                                 24             $116.59               $38.24              $78.35             $0.00
2       ATLANTIC CREDIT & FINANCE INCORPORATED                         0                $0.00                $0.00               $0.00             $0.00
3       BANK OF AMERICA                                                33               $0.00                $0.00               $0.00             $0.00
4       CITIBANK, N.A.                                                 33               $0.00                $0.00               $0.00             $0.00
5       HSBC BANK NEVADA N.A.                                          33               $0.00                $0.00               $0.00             $0.00
6       INSPIRA HEALTH NETWORK                                         33               $0.00                $0.00               $0.00             $0.00
7       TD RETAIL CARD SERVICES                                        33            $1,692.38               $0.00           $1,692.38             $0.00
8       M & T BANK                                                     24         $25,327.10          $8,305.08             $17,022.02             $0.00
9       MIRAMED REVENE GROUP                                           0                $0.00                $0.00               $0.00             $0.00
10      NEW JERSEY OFFICE OF THE ATTORNEY GENER                        0                $0.00                $0.00               $0.00             $0.00
11      PMAB, LLC                                                      0                $0.00                $0.00               $0.00             $0.00
12      PORTFOLIO RECOVERY ASSOCIATES, LLC                             33             $338.34                $0.00             $338.34             $0.00
13      RESOLVE PARTNERS LLC                                           0                $0.00                $0.00               $0.00             $0.00
14      SALEM MEDICAL PROFESSIONAL                                     33               $0.00                $0.00               $0.00             $0.00
15      STATE OF NEW JERSEY                                            28               $0.00                $0.00               $0.00             $0.00
16      SYNCHRONY BANK                                                 33               $0.00                $0.00               $0.00             $0.00
17      OFFICE OF THE U.S. TRUSTEE                                     0                $0.00                $0.00               $0.00             $0.00
18      US DEPT. OF EDUCATION                                          33               $0.00                $0.00               $0.00             $0.00
19      UNITED TELETECH FINANCIAL F.C.U.                               24               $0.00                $0.00               $0.00             $0.00
20      WFFNB/RAYMOUR & FLANIGAN                                       33               $0.00                $0.00               $0.00             $0.00
21      WINDSOR COURT APARTMENTS                                       33               $0.00                $0.00               $0.00             $0.00
22      WORKOUT ANYTIME BROADWAY                                       33               $0.00                $0.00               $0.00             $0.00
23      ISABEL C. BALBOA                                               0                $0.00                $0.00               $0.00             $0.00
24      STEVEN D. OWENS SR.                                            0                $0.00                $0.00               $0.00             $0.00
25      VICTOR DRUZIAKO                                                0                $0.00                $0.00               $0.00             $0.00
26      ALLY FINANCIAL                                                 24             $307.35              $100.79             $206.56             $0.00




              THIS REPORT IS NOT TO BE CONSTRUED AS A PLAN PAYOFF FIGURE. PLEASE CONTACT THE TRUSTEE'S OFFICE, IN
                                      WRITING, TO RECEIVE AN ACCURATE PLAN PAYOFF FIGURE.
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CL#     Creditor Name                                           LVL   Claim Amt.      Amt. Paid.    Balance Due     Paid this
                                                                                                                      Period
27      PORTFOLIO RECOVERY ASSOCIATES, LLC                      33        $599.70         $0.00         $599.70        $0.00
28      MIDLAND FUNDING, LLC                                    33          $0.00         $0.00           $0.00        $0.00
29      ALLY FINANCIAL                                          13        $500.00       $500.00           $0.00        $0.00




Case Steps


Start Date                                       No. Months               Payment
10/01/2019                                             22.00                $0.00
08/01/2021                                      Paid to Date          $10,968.00
09/01/2021                                             37.00              $587.00
10/01/2024                              Projected end of plan




Total payments received this period:           $5,574.00

Total paid to creditors this period:           $0.00
Undistributed Funds on Hand:                   $0.00
Arrearages:                                    $587.00
Attorney:                                      VICTOR DRUZIAKO, ESQUIRE




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